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DONALD G. HoLM Es, JR_, Cl.ERK, U:§, l,£c>TF§Ql'OOURl
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Plaintiff,
v. NO. 01_2873

SHELBY COUNTY GOVERNMENT and
SERGEANT D. TAYLOR, et al.,

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

On October 25, 2001, the Plaintiff, Donald G. Holmes, Jr., initiated this action against the
Defendants. After several years of litigation, the parties agreed to settle the case. Thereafter, the
Defendants filed a motion to enforce the voluntary settlement agreement The Court granted the
Defendants’ motion on April 26, 2005 and ordered the Plaintiff to sign the necessary documents to
effectuate the agreement within eleven days. After the Plaintiff failed to comply with the Court’s
order, the Defendants filed a motion to dismiss pursuant to Rule 4l(b) of the Federal Rules of Civil
Procedure. On May 23, 2005, the Court ordered the Plaintiff to show cause why his lawsuit should
not be dismissed based on his failure to comply with the Court’s order. To date, according to the
Court’s doc]<et, Plaintiff has not responded to the Court’s show cause order nor complied with the
April 26 order.

Rule 4l(b) provides for dismissal of actions “[f]or failure ofthe plaintiff to prosecute or to
comply with [the Federal Rules of Civil Procedure] or any order of court . . .“ Fed. R. Civ. P. 4l(b).
A Rule 4l(b) dismissal “operates as an adjudication upon the merits.” @ The authority to dismiss

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a case under Rule 41(b) “is available to the district court as a tool to effect management of its docket
and avoidance of unnecessary burdens on the tax-supported courts and opposing parties." Knoll v.
American Tel. & Tel. Co., 176 F.?)d 359, 363 (6th Cir. 1999), reh’g Bfl suggestion § reh’g@banc
denied (June 30, 1999) (citations and internal quotations omitted). The Supreme Court has
recognized that

[n]either the permissive language of the Rule -- which merely authorizes a motion by

the defendant -- nor its policy requires us to conclude that it was the purpose of the

Rule to abrogate the power of courts, acting on their own initiative, to clear their

calendars of cases that have remained dormant because of the inaction or dilatoriness

of the parties seeking relief The authority of the court to dismiss sua sponte for lack

of prosecution has generally been considered an “inherent power,” governed not by

rule or statute but by the control necessarily vested in courts to manage their own

affairs so as to achieve the orderly and expeditious disposition of cases.

Link v. Wabash R.R. Co., 370 U.S. 626, 630-31, 82 S.Ct. 1386, 1388-89, 8 L.Ed.2d 734 (1962).
District courts are permitted substantial discretion in determining Whether dismissal is appropriate
Knoll, 176 F.3d at 363; Han'non v. CSX Transp.. Inc., 110 F.3d 364, 366 (6th Cir. 1997), cert.
denied, 522 U.S. 868, 118 S.Ct. 178, 139 L.Ed.2d 119 (1997).

The Sixth Circuit has articulated four factors to be addressed by the court in assessing
whether dismissal for failure to prosecute is warranted: (l ) whether the party’ s failure was the result
of willfulness, bad faith, or fault; (2) Whether the opposing party suffered prejudice due to the party’ s
conduct; (3) whether the dismissed party was warned that failure to cooperate could lead to
dism.issal; and (4) whether less drastic sanctions were imposed or considered before dismissal was
ordered l\/lulbah v. Detroit Bd. ofEduc., 261 F.3d 586, 589 (6th Cir. 2001 ). Prior notice to the party

that his failure to cooperate may result in dismissal is important to support the sanction Vinci v.

Consolidated Rail Corp., 927 F.2d 287, 288 (6th Cir. 1991) (per curiam).

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ln this case, as outlined above, the Plaintiff has made no effort whatsoever to comply with
the Court’s orders. Holmes has not responded to the Court’s order to execute the settlement
documents or its order to show cause why his case should not be dismissed Fuithermore, in ruling
on the Defendants’ motion to enforce the settlement, the Court explicitly warned the Plaintiff that
his case would be dismissed ifhe failed to comply with its order. Moreover, the Court again, in an
order to show cause, cautioned the Plaintiff that failure to respond to the Court’s directive would
result in dismissal of his claims Under the circumstances, the Court finds that no sanction short of
dismissal will cure the Plaintiffs failure to follow the Court’s directives. Giving the Plaintiff
additional time to comply with the Court’s orders would be futile because Holmes appears to have
abandoned his claims against the Defendants. Accordingly, the Court concludes that dismissal of
Plaintiff’s claims is appropriate

Based on the foregoing, the Plaintit`fs lawsuit against the Defendants is hereby DISMISSED
with prejudice

rr is so oRDERED this’i_ day ariuiy, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 196 in
case 2:01-CV-02873 was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

